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                                   U.S. BANKRUPTCY COURT
                                    District of South Carolina

Case Number: 23-00184-eg
Adversary Proceeding Number: 23-80013-eg



                                              Order



The relief set forth on the following pages, for a total of 6 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           04/04/2023




                                                   Elisabetta G. M. Gasparini
                                                   US Bankruptcy Judge
                                                   District of South Carolina


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                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF SOUTH CAROLINA


  In re:
                                                    Chapter 13
              Scott Matthew Huggins,
                                                    Case No. 23-00184-eg
                      Debtor

           Scott Matthew Huggins
                       Plaintiff(s),

                         v.

                   Louise Grant,                              Adv. Proc. No. 23-80013-eg
                          Defendant(s).

                                                         CONSENT SCHEDULING ORDER



   TO: PLAINTIFF(S) AND DEFENDANT(S) ABOVE-NAMED:
                                                                    pursuant to 28 U.S.C. § 1452 -EG
                                              removed to
  The above captioned adversary proceeding was xxxxxxx
                                               filed with this Court^on February 22, 2023.
  The issues having been joined, the Court enters this scheduling order to expedite the
  disposition of this proceeding.


   In accordance with Rule 16(b) of the Federal Rules of Civil Procedure (Fed. R. Civ. P.)
  (made applicable herein by Rule 7016 of the Federal Rules of Bankruptcy Procedure (Fed. R.
  Bankr. P.)), the following schedule is established:


       1. The Parties no longer need to join parties and have agreed to amend the pleadings
  according to the following terms: The Plaintiff shall amend its complaint by April 14, 2023.
  Defendant will then have until April 29, 2023 to amend or otherwise answer Plaintiff’s
  amended complaint.

        2. To the extent there is any dispute amongst the parties as to whether the entry of
  final orders or judgments by this Court on any issue in this adversary proceeding or to the
  extent that a party wants to seek withdrawal of the reference or a motion for abstention,
  any such motion should be filed by April 29, 2023. Nothing in this paragraph limits this
  Court’s ability to determine sua sponte whether this proceeding is a core proceeding
  under 28 U.S.C. § 157(b)(3) or otherwise subject to entry of final order or judgment by
  this Court.
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               3.Discovery having been previously conducted is closed. The Parties to the
        litigation indicated that they would participate in informal discovery. Counsel are
        encouraged to participate in pre-trial discovery conferences in order to decrease, in every way
        possible, the filing of unnecessary discovery motions. No motion concerning discovery
        matters may be filed until counsel have explored with opposing counsel the possibility of
        resolving the discovery matters in controversy (See SC LBR 7026-1(c));

              4.Motions, other than those set forth in paragraph 1 above shall be filed and served on
        or before May 15, 2023. Motions for Summary Judgment having already been filed, no such
        motions shall be permitted. If motions are filed, they shall be heard at the pretrial conference
        unless otherwise scheduled by the Court. Any objections or other responses to such a motion
        shall be filed and served on or before May 29, 2023. The filing of a motion pursuant to this
        paragraph shall suspend the requirement of the submission of a Joint Pretrial Order as set
-EG     forth in paragraph 4xxxxxxx
                             below. 6 below. In that event, the Joint Pretrial Order shall be required on
        a date set at the pretrial conference. If a date is not set, the Joint Pretrial Order shall be
        submitted no later than ten (10) business days before the trial.

               5.The Parties have indicated an intent to conduct a mediation on these issues. The
        Court is not requiring this mediation and the Parties have agreed to conduct the meditation on
        or before May 29, 2023. To the extent the parties decide to proceed with mediation, by no
        later than May 5, 2023, the parties shall file a proposed consent order consistent with the
        requirements of SC LBR 9019-2 and outlining, among other things, the identity of the
        proposed mediator, the proposed fees of the mediator, and how they are to be
        apportioned amongst the parties. A mediation report should be filed on or before June 5,
        2023. -EG To the extent that the parties do not proceed with mediation or to the extent mediation
                       does not lead to a settlement of all issues in this adversary proceeding,
                     no motions are filed, the parties are hereby Ordered to prepare and file no later than -EG
               6. Ifxxxxxxxxxxxxxxxxx
        _5:00p.m on June 15, 2023 a Joint Pretrial Order, approved by counsel in writing, which sets
        forth:
                 a.   The facts which are admitted and require no proof;

                 b. The facts which remain to be litigated (evidence at trial will be limited to
                    these issues). To the extent that parties are unable to agree on the facts, the
                    pretrial stipulation should set forth each party’s version of the facts.

                 c.    A list of exhibits to be introduced at the hearing, in the sequence proposed to
                      be introduced, with a description of each sufficient for identification, together
                      with a statement of any objections thereto (with specific grounds stated), and
                      a statement confirming the fact that the parties have exchanged copies of said
                      exhibits. The original and three copies of all paper exhibits shall be submitted
                      to the courtroom deputy at the same time as the Joint Pretrial Order.2 Trial
                      exhibits are not to be filed on CM/ECF. Exhibits to be used only for
                      impeachment need not be identified. Failure to exchange and submit exhibits
                      in a timely fashion may result in the Court striking the proceeding from its
                      calendar, denying admission of the exhibits, or considering appropriate
                      sanctions. At trial, the proponent of an exhibit shall provide copies, pre-
                      marked for identification, for all opposing counsel and for the witness stand.
                      Consult Chambers Guidelines for information concerning electronic evidence
                      presentation.
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              d. The rule(s) of bankruptcy procedure, the section(s) of the United States
                 Bankruptcy Code, the sections(s) of state law, and/or all case law authority, if
                 any, on which the parties are relying. A copy of all case law authority to be
                 relied upon should be submitted with the Joint Pretrial Order, if not
                 previously provided to the Court. The presentation of authority may be made
                 in the form of a Trial Brief which complies with the requirements of this
                 paragraph;

              e. The issues to be determined;

              f. A separate list by each party of those witnesses whom each will present at the
                 trial and those witnesses whom each may present at trial. Testimony will be
                 limited to that given by the witnesses so identified, except as may otherwise
                 be permitted by the Court. The statement by a party that a witness will be
                 present may be relied on by the opposing party unless notice to the contrary is
                 given in sufficient time prior to trial to allow the opposing party to subpoena
                 the witness or obtain the testimony of the witness. Witnesses to be used only
                 for impeachment need not be identified.

              g. A separate list by each party of any witnesses whose testimony will be
                 offered by deposition together with a statement of objections, if any, by
                 opposing parties to the use of any portion of said depositions;

              h. Whether a pretrial settlement conference would be beneficial; and

              i.   Whether the parties are ready for trial.

        7. The parties need not agree on every matter contained therein to submit a pretrial order
  as joint. In the event counsel for the parties or parties appearing pro se are unable to agree on
  a Joint Pretrial Order, after demonstrated efforts, each shall submit a separate proposed
  Pretrial Order no later than the due date provided herein.

        8. Failure to submit timely a Joint Pretrial Order or Pretrial order and exhibits may
  result in the Court’s striking the proceeding from its calendar or considering appropriate
  sanctions.

        9. After its submission, the Joint Pretrial Order may not be amended without a finding
  of good cause by the Court. Once entered, the Joint Pretrial Order will control the subsequent
  course of the proceeding set for trial, unless relief therefrom is granted to avoid manifest
  injustice (Fed. R. Civ. P. 60).

        10.      In accordance with Fed. R. Civ. P. 26(a)(2), each party shall identify any
  expert witness to be used in this proceeding, provide the expert’s deposition prior to the
  conclusion of discovery, unless otherwise ordered by the Court. Disclosure of the intention
  to use an expert witness and the name of the expert should have been made during the initial
  meeting of counsel or the parties following joinder of the issues. Subsequent disclosures of
  expert witness, if permitted, must be made in a timely manner that allows a reasonable
  opportunity for the opposing party to retain a rebuttal expert prior to the conclusion of
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  discovery and allows for a reasonable opportunity for expert witness to be deposed prior to
  conclusion of discovery.

        11.       If this adversary proceeding requires a change of schedule from the schedule
  set forth herein, a party in interest may timely move to amend this order. The movant must
  indicate the reasons for the requested amendment and whether all parties consent. A deadline
  established by this order will be extended only upon a showing of good cause. In the absence
  of disabling circumstances, the deadline for completion of discovery will not be extended
  unless there has been active discovery and a good faith effort to comply with the discovery
  schedule. An agreement to modify a deadline or a request to so modify is not effective absent
  entry of an amended scheduling order by the Court.

        12.       In the event the parties agree that discovery is concluded or unnecessary and
  that they are ready for trial, a trial date may be immediately requested. Such a request shall
  estimate the time necessary for trial.

        13.      The parties shall comply with SC LBR 7026-1 pertaining to discovery and all
  applicable rules and chambers guidelines pertaining to requests for continuances or
  settlements.

        14.       A pre-trial conference will be held before this Court after expiration of
  the deadlines set forth herein to determine the trial date, hear any outstanding motions and
  consider any other matters appropriate under the circumstances of the case. The pre-trial
  conference shall be attended by the attorneys who will conduct the trial for each of the
  parties, or by parties appearing pro se. The Court expects that the attorneys for each party
  participating in any conference before the trial shall be prepared to estimate the time
  necessary for trial and shall have authority to enter into stipulations, to discuss settlement,
  and to make admissions regarding all matters that the participants may reasonably anticipate
  may be discussed. Following the conclusion of the pre-trial conference, the Court may
  proceed with the trial of the proceeding or may enter an order setting a date for a further
  pretrial conference, a date for the filing of further proposed orders or briefs, and the trial date.

        15.       Filing a motion and failing to prosecute the motion may be construed by this
  Court as evidence that the motion was not filed in good faith or was filed for an improper
  purpose and may be subject to appropriate sanctions. The Court, on its own initiative, may
  impose sanctions against a party or party's attorney failing to obey the scheduling order,
  failing to make an appearance at a pretrial conference, failing to be prepared to participate in
  the conference, or failing therein to participate in good faith.

       16.       The failure to abide by the terms of this order or to appear and be ready in
  accordance with this order may be determined as a failure to prosecute this adversary
  proceeding pursuant to Fed. R. Bankr. P. 7041 and Fed. R. Civ. P. 41.


  AND IT IS SO ORDERED.


  WE SO CONSENT
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